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 9
     Lighting Products, Inc.

10

11                        UNITED STATES DISTRICT COURT

12                      CENTRAL DISTRICT OF CALIFORNIA
13

14

15   BEST LIGHTING PRODUCTS, INC.           PLAINTIFF BEST LIGHTING
                                            PRODUCTS’ COMPLAINT FOR
16
                  Plaintiff,                PATENT INFRINGEMENT
17         v.
18
     AH LIGHTING, INC.                      DEMAND FOR JURY TRIAL
19      a corporation;
20
     AH LAMPS ONE, INC
        a corporation;
21   AH 26 LLC
22      a corporation;
     KAMRAN NEYDAVOUD
23      an individual; and
24   DOES 1 through 10
                 Defendants
25

26

27

28



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 1                  COMPLAINT FOR PATENT INFRINGEMENT
 2
           Plaintiff Best Lighting Products, Inc. (“Best Lighting”), for its Complaint
 3

 4   against Defendants AH Lighting, AH Lamps One, Inc., AH26 LLC, and Kamran
 5
     Neydavoud, alleges as follows:
 6

 7                                    THE PARTIES
 8
     1.    Plaintiff Best Lighting is a Delaware corporation with its principal place of
 9

10   business at 1213 Etna Parkway Pataskala, OH 43062.
11
     2.    On information and belief, Defendant AH Lighting is a California
12
     corporation that has a principal place of business at 2442 and 2444 Hunter Street,
13

14   Los Angeles, CA 90021-2504.
15
     3.    On information and belief, Defendant AH Lamps One, Inc. is a California
16

17   corporation that has a principal place of business at 2442 Hunter Street, Los
18   Angeles, CA 90021-2504.
19
     4.    On information and belief, Defendant AH 26 LLC is a California
20

21   corporation that has a principal place of business at 2442 Hunter Street, Los
22
     Angeles, CA 90021-2504.
23
     5.    On information and belief, Kamran Neydavoud is a California resident and
24

25   individual residing at 430 S. Wetherly Drive, Beverly Hills, CA 90211 and 8010
26
     West 4th Street, Los Angeles, CA 90048 and is the registered agent for service of
27

28   process for AH Lamps One, Inc. and AH 26 LLC and Mr. Neydavoud has a


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 1   principal place of business at 2442 and 2444 Hunter Street, Los Angeles, CA
 2
     90021-2504.     Plaintiff is informed and believes that Mr. Neydavoud is the
 3

 4   principal and agent for Defendant AH Lighting, Inc.
 5
     6.    On information and belief, AH Lighting, AH Lamps One, Inc. and AH 26
 6
     LLC are controlled by Mr. Neydavoud and are operated as one entity without
 7

 8   regard to corporate formalities and are the alter ego of one another (collectively all
 9
     Defendants are referred to herein as “AH Lighting”). On information and belief,
10

11   the Defendants operate as a joint enterprise.

12
     7.    The true names and capacities of Defendants DOES 1 through 10, inclusive,
13

14   whether individual, corporate, associate, or otherwise, are presently unknown to

15   Plaintiff, which therefor sues said DOE Defendants by their respective fictitious
16
     names. Plaintiff will seek leave of this court to amend this complaint to reflect the
17

18   true names and capacities of such DOE Defendants when their respective names
19
     and capacities have been ascertained.
20

21   8.    Plaintiff alleges, upon information and belief, that each of the Defendants
22
     named in this complaint was, at all times referred to in this complaint, the agent,
23
     servant, employee, representative, or officer of the remaining Defendants and, in
24

25   engaging in the conduct alleged in this complaint, was acting within the scope,
26
     course, purpose, and authority of such agency, employment and/or position, or
27

28   alternatively, in the apparent scope of its authority, agency, employment and/or


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 1   position, and with the direction, permission, and/or consent of the remaining
 2
     Defendants.
 3

 4   9.    On information and belief, Defendants have substantial contacts and
 5
     transacts substantial business, on an ongoing basis in this judicial district and
 6

 7   elsewhere the United States.
 8
                               NATURE OF THE ACTION
 9

10   10.   This is an action for patent infringement in which Plaintiff seeks
11
     compensatory damages, a reasonable royalty and declaratory and injunctive relief.
12

13   11.   AH Lighting and Neydavoud, individually, have infringed and continue to
14
     infringe U.S. Patent No. 6,309,085 (the ‘085 Patent), a copy of which is provided
15

16
     as Exhibit “A”; U.S. Patent No. 6,606,808, (the ‘808 Patent), a copy of which is

17   provided as Exhibit “B”; and U.S. Design Patent No. D440,336, a copy of which is
18
     provided as Exhibit “C”, hereinafter collectively referred to as, the “Asserted
19

20   Patents”, which are directed to exit signs and lamp supports.
21
                              JURISDICTION AND VENUE
22

23   12.   This action arises under the patent laws of the United States, 35 U.S.C. § 1 et
24
     seq., including 35 U.S.C. § 271. This court has original subject matter jurisdiction
25

26   pursuant to 28 U.S.C. §§ 1331 and 1338.
27
     13.   This court has personal jurisdiction over Defendants because Defendants
28



     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT PAGE 4 OF 13
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 1   have substantial contacts, conducts business and have infringed the Asserted
 2
     Patents, in the State of California and in the Central District of California.
 3

 4   14.    Venue is proper in the Central District of California under 28 U.S.C. §§
 5
     1391(b) and (c) and 1400(b) because, as alleged in this Complaint, Defendants
 6
     have committed acts of infringement and has a principal place of business in this
 7

 8   District.
 9
                                FACTUAL ALLEGATIONS
10

11   15.    Best Lighting is, and at all times relevant hereto has been, a manufacturer
12
     and developer of lighting products and sells those products in interstate commerce
13

14   throughout the United States.

15   16.    Best Lighting currently holds multiple United States Letters Patents for
16
     innovations in lighting systems and designs.
17

18   17.    AH Lighting is in the business of marketing and selling lighting systems
19
     throughout the United States. AH Lighting is controlled by and directed by
20
     Defendant Neydavoud who was directly involved in the infringing activities of AH
21

22   Lighting with full knowledge of the patents. Mr. Neydavoud is the key individual
23
     in decisions pertaining to the manufacture and sale of the accused products and
24

25   knew that by selling and making a device of the style alleged herein that
26   Defendants would be infringing the Asserted Patents and that their customers
27
     would be infringing the Asserted Patents. Mr. Neydavoud’s knowledge of the
28



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 1   Asserted Patents and use of the inventive features demonstrates his intent to
 2
     infringe the Asserted Patents and to induce others to infringe. Defendants’ actions
 3

 4   contributed to the infringing activities alleged herein.
 5
     18.   AH Lighting sells its products in competition with Best Lighting and has
 6
     earned revenues in the United States for the sales of those products, including three
 7

 8   models of lights namely first and second models named “Combo Emergency &
 9
     Exit Lights”, labeled items “CR” or “CG” with Red or Green coloring, and
10

11   described in a specification sheet attached as Exhibit “D” and a third model named

12   “Emergency Lights”, labeled item “EL” and described in a specification sheet
13
     attached as Exhibit “E.”
14

15   19.   Best Lighting is the owner by assignment of United States Patent No.
16
     6,309,085, issued October 30, 2001, entitled “Lamp Support for Emergency Light
17
     Fixture”(the ‘085 Patent), that was duly and legally issued by the United States
18

19   Patent and Trademark Office. Best Lighting has full rights to pursue damages for
20
     infringement of the ‘085 Patent.
21

22   20.   Best Lighting is the owner by assignment of United States Patent No.

23   6,606,808, issued August 19, 2003, entitled “Exit Sign with Rotatable Lighting
24
     Heads” (the ‘808 Patent), that was duly and legally issued by the United States
25

26   Patent and Trademark Office. Best Lighting has full rights to pursue damages for
27
     infringement of the ‘808 Patent.
28



     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT PAGE 6 OF 13
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 1   21.   Best Lighting is the owner by assignment of, United States Patent No.
 2
     D440,336, issued April 10, 2001entitled “Lamp Support for Emergency Light
 3

 4   Fixture” (the ‘336 Patent), that was duly and legally issued by the United States
 5
     Patent and Trademark Office. Best Lighting has full rights to pursue damages for
 6
     infringement of the ’336 Patent.
 7

 8              COUNT I–PATENT INFRINGEMENT (‘085 PATENT)
 9

10   22.   Best Lighting repeats and re-alleges each of the allegations contained in the
11
     paragraphs above.
12

13   23.   Each claim of the ‘085 Patent is valid and enforceable.
14
     24.   AH Lighting has willfully and knowingly made, used, sold and/or offered
15
     for sale devices embodying the patented invention that constitute infringement of
16

17   the ‘085 Patent and will continue to do so, by using, offering for sale and selling
18
     products claimed by the ‘085 Patent. Defendant Neydavoud is personally liable for
19

20
     directing the activities that result in infringement, and inducing infringement under

21   Title 35 United States Code, Sections 271(b).
22
     25.   AH Lighting sells at least three models of lights which infringe the ‘085
23

24   Patent, namely first and second models named “Combo Emergency & Exit
25
     Lights”, labeled items “CR” or “CG” with Red or Green coloring, and described in
26
     a specification sheet attached as Exhibit “D” and a third model named “Emergency
27

28   Lights”, labeled item “EL” and described in a specification sheet attached as

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 1   Exhibit “E”
 2
     26.   The ‘085 Patent claims, such as in claim 10 for example, a lamp support for
 3

 4   an emergency light fixture comprising a housing for supporting a light source, as
 5
     well as a mounting structure rotatably connected to the housing to permit rotation
 6
     of the housing about an axis determined by the mounting structure.
 7

 8   27.   Each of the three models, EL, CR and CG, includes fully adjustable lighting
 9
     heads, each of which constitute a housing supporting a light source. The models
10

11   also have a mounting structure permitting rotation of each housing.

12              COUNT II–PATENT INFRINGEMENT (‘808 PATENT)
13
     28.   Best Lighting repeats and re-alleges each of the allegations contained in the
14

15   paragraphs above.
16
     29.   Each claim of the ‘808 Patent is valid and enforceable.
17
     30.   AH Lighting has willfully and knowingly made, used, sold and/or offered
18

19   for sale devices embodying the patented invention that constitute infringement of
20
     the ‘808 Patent and will continue to do so, by using, offering for sale and selling
21

22   products claimed by the ‘808 Patent. Defendant Neydavoud is personally liable for

23   directing the activities that result in infringement, and inducing infringement under
24
     Title 35 United States Code, Sections 271(b).
25

26   31.   AH Lighting sells at least two models of lights which infringe the ‘808
27
     Patent, namely a first and second models named “Combo Emergency & Exit
28



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 1   Lights”, labeled items “CR” or “CG” with Red or Green coloring, and described in
 2
     a specification sheet attached as Exhibit “D”.
 3

 4   32.   The ‘808 Patent claims, such as in claim 1 for example, an exit sign
 5
     comprising: a housing having a front face and a rear face with a peripheral edge
 6
     therebetween, said housing being adapted to receive a lighting system including an
 7

 8   illumination source and a power source; symbols located on said front face adapted
 9
     to be illuminated by the lighting system; a support assembly mounted to said
10

11   peripheral edge, said support assembly including a support arm defining a first

12   axis; a freely rotatable lighting head supported by said support arm for movement
13
     to any one of a plurality of selectable, discreet positions through an angle greater
14

15   than 180 degrees about the first axis; and means for enabling sliding adjustment of
16
     said lighting head relative to said support arm.
17
     33.   Each of the two models, CR and CG, constitutes an exit sign as can be seen
18

19   in the picture shown in the upper right of exhibit “D”. Each model has an internal
20
     battery for powering LED lights and also has symbols, i.e. letters, spelling EXIT.
21

22   Support arms are provided to support two fully adjustable lighting heads, which

23   may rotate more than 180 degrees through discreet positions. The lighting heads
24
     are slidable.
25

26              COUNT III–PATENT INFRINGEMENT (‘336 PATENT)
27

28   34.   Best Lighting repeats and re-alleges each of the allegations contained in the

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 1    paragraphs above.
 2
      35.   Each claim of the ‘336 Patent is valid and enforceable.
 3

 4    36.   AH Lighting has willfully and knowingly made, used, sold and/or offered
 5
      for sale devices embodying the patented invention that constitute infringement of
 6
      the ‘336 Patent and will continue to do so, by using, offering for sale and selling
 7

 8    products claimed by the ‘336 Patent. Defendant Neydavoud is personally liable for
 9
      directing the activities that result in infringement, and inducing infringement under
10

11    Title 35 United States Code, Sections 271(b).

12    37.   AH Lighting sells at least two models of lights which infringe the ‘336
13
      Patent, namely a first and second models named “Combo Emergency & Exit
14

15    Lights”, labeled items “CR” or “CG” with Red or Green coloring, and described in
16
      a specification sheet attached as Exhibit “D”.
17
      38.   The ‘336 Patent is a design patent and protects the design shown in the
18

19    Figures. See, for example, Figure 1 reproduced below:
20

21

22

23

24

25

26

27

28    39.

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 1    40.   Each of the two models, CR and CG, constitutes an exit sign as can be seen
 2
      in the picture shown in the upper right of exhibit “D”. A picture of the CG model,
 3

 4    which incorporates the ornamental features claimed in the ‘336 Patent, is
 5
      reproduced below:
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
      41.
19

20
      42.   Plaintiff seeks damages for Defendants’ infringement in an amount no less

21    than a reasonable royalty and for all profits obtained by Defendants as a result of
22
      the sales of infringing product.
23

24                                 PRAYER FOR RELIEF
25    WHEREFORE, Best Lighting prays for relief as follows:
26
      1.    A judgment that each of Best Lighting’s Asserted Patents is valid and
27

28    enforceable;


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 1    2.    A judgment that AH Lighting has infringed one or more claims of each of
 2
      Best Lighting’s Asserted Patents;
 3

 4    3.    An order and judgment preliminarily and permanently enjoining AH
 5
      Lighting and its officers, directors, agents, employees, affiliates, attorneys, and all
 6
      others acting in privity or concert with them, their parents, subsidiaries, divisions,
 7

 8    successors and assigns from further acts of infringement of Best Lighting’s
 9
      Asserted Patents;
10

11    4.    A judgment awarding Best Lighting all damages for AH Lighting’s

12    infringement of Best Lighting’s Asserted Patents, and in no event less than a
13
      reasonable royalty for AH Lighting’s acts of infringement;
14

15    5.    A judgment awarding Best Lighting all of AH lighting’s profits for AH
16
      Lighting’s infringement of Best Lighting’s Asserted Patents;
17
      6.    A judgment awarding Best Lighting that this is a willful and exceptional
18

19    case and an award of treble damages, costs and attorney’s fees for AH Lighting’s
20
      infringement of Best Lighting’s Asserted Patents;
21

22    7.    A judgment that Defendant Neydavoud is jointly and personally liable for all

23    damages assessed in this matter for patent infringement; and
24
      8.    Other relief that the court determines is just and all pre-judgment and post
25

26    judgment interest at the maximum rate permitted by law.
27
                                DEMAND FOR JURY TRIAL
28



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 1          Best Lighting hereby demands a trial by Jury on all issues raised by the
 2
      complaint.
 3

 4    Dated: August 23, 2016
 5                                       THE PETRUZZI LAW FIRM
 6                                       s/ James D. Petruzzi
                                         James D. Petruzzi
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